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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ________________________________________________
 SARA COOMBS-MORENO, REMO DELLO IOIO,
 ELIZABETH LOIACONO, SUZANNE DEEGAN,
 MARITZA ROMERO, JULIA HARDING, CHRISTINE
 O’REILLY, AYSE P. USTARES, JESUS COOMBS,
 ANGELA VELEZ, SANCHA BROWNE, ZENA
 WOUADJOU, CHARISSE RIDULFO, TRACY-ANN
 FRANCIS MARTIN, KAREEM CAMPBELL,
 MICHELLE HEMMINGS HARRINGTON, MARK
 MAYNE, CARLA GRANT, OPHELA INNISS,
 CASSANDRA CHANDLER, AURA MOODY, EVELYN
 ZAPATA, SEAN MILAN, SONIA HERNANDEZ,
 BRUCE REID, JOSEPH RULLO, CURTIS BOYCE,
 JOSEPH SAVIANO, NATALYA HOGAN, JESSICA
 CSEPKU, ROSEANNE MUSTACCHIA, YULONDA
 SMITH, MARIA FIGARO, RASHEEN ODOM,
 FRANKIE TROTMAN, EDWARD WEBER, MERVILYN
 WALLEN, PAULA SMITH, SARAH WIESEL,
 SUZANNE SCHROETER, DAWN SCHOL, LYNDSAY
 WANSER, CHRISTIAN MURILLO, MONIQUE
 MOORE, MONICA MARTIN, ALTHEA BRISSETT,
 TRACEY HOWARD, MARC ROSIELLO, AUDREY
 DENNIS, MARIE JOSEPH, TINA LYNCH, PATRICIA
 CATOIRE, SALLY MUSSAFI, COLETTE CAESAR,
 BERTRAM SCOTT, DIANE PAGEN, STELLA M.
 PRESTON, RACHELLE GARCIA, JULIE LAWLEY,
 SUSANNE PHILLIP, MARIA ESTRADA, JENNETTE
 FRAZER, AND DEBBY HARTZ, AND DIANNE
 BAKER-PACIUS individually and on behalf of similarly
 situated individuals,

                               Plaintiffs,
                        v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,
 COMISSIONER ASHWIN VASAN, MD, PHD, FORMER INDEX No.: 1:22 CV 02234-EK-LB
 MAYOR BILL deBLASIO, COMISSIONER ASHWIN
 VASAN, MD, PHD, AND FORMER COMMISSIONER AMENDED NOTICE OF APPEAL
 DAVE A. CHOKSHI, M.D., MSC., DEPARTMENT OF CHANGE TO INTERLOCULATOR
 HEALTH AND MENTAL HYGIENE, DEPARTMENT OF APPEAL & NAME CORRECTION
 EDUCATION, AND DOES 1-20

                               Defendants.



Notice is hereby given that the following parties:
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SARA COOMBS-MORENO, REMO DELLO IOIO, ELIZBETH LOIACONO, SUZANNE
DEEGAN, MARITZA ROMERO, JULIA HARDING, CHRISTINE O’REILLY, AYSE P.
USTARES, JESUS COOMBS, ANGELA VELEZ, SANCHA BROWNE, ZENA WOUADJOU,
CHARISSE RIDULFO, TRACY-ANN FRANCIS MARTIN, KAREEM CAMPBELL,
MICHELLE HEMMINGS HARRINGTON, MARK MAYNE, CARLA GRANT, OPHELA
INNISS, CASSANDRA CHANDLER, AURA MOODY, EVELYN ZAPATA, SEAN MILAN,
SONIA HERNANDEZ, BRUCE REID, JOSEPH RULLO, CURTIS BOYCE, JOSEPH
SAVIANO, NATALYA HOGAN, JESSICA CSEPKU, ROSEANNE MUSTACCHIA,
YULONDA SMITH, MARIA FIGARO, FRANKIE TROTMAN, EDWARD WEBER,
MERVILYN WALLEN, PAULA SMITH, SARAH WIESEL, SUZANNE SCHROETER, DAWN
SCHOL, LYNDSAY WANSER, CHRISTIAN MURILLO, MONIQUE MOORE, RASHEEN
ODOM, MONICA MARTIN, ALTHEA BRISSETT, TRACEY HOWARD, MARC ROSIELLO,
AUDREY DENNIS, MARIE JOSEPH, TINA LYNCH, PATRICIA CATOIRE, SALLY
MUSSAFI, COLETTE CAESAR, BERTRAM SCOTT, DIANE PAGEN, STELLA M. PRESTON
RACHELLE GARCIA, JULIE LAWLEY, SUSANNE PHILLIP, MARIA ESTRADA,
JENNETTE FRAZER, DEBBY HARTZ AND DIANNE BAKER-PACIUS individually and on
behalf of similarly situated individuals,

in the above-named case file this Amended Notice of Appeal to:

   1. correct the type of “appeal” to change the appeal to an “Interlocutory Appeal” due to the

       incorrect selection in the filing drop down when originally filed; and to

   2. correct clerical typographical errors in the names of the Plaintiffs listed in the previously

       filed notice of appeal filed on October 25, 2024 at ECF #111 to the United States Court of

       Appeals for the Second Circuit from the order entered on September 25, 2024 ECF#99.

       Specifically, Plaintiffs request that the duplicative Plaintiff names be deleted, and the

       following names should be corrected and/or deleted as indicated below:

              1. Monique More or Monique Moreno– corrected to Monique Moore

              2. Elizbeth Loiacono – corrected to Elizabeth Loiacono

              3. Mark Ayne – corrected to Mark Mayne

              4. Delete the names of:

                      a. GEORGIANN GRATSLEY

                      b. MARK WHITSETT
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             5. Add the following names listed in the Fourth Amended Complaint ECF #88 and

                 also listed above:

                     a.   RACHELLE GARCIA
                     b.   JULIE LAWLEY
                     c.   SUSANNE PHILLIP
                     d.   MARIA ESTRADA
                     e.   JENNETTE FRAZER
                     f.   DEBBY HARTZ
                     g.   DIANNE BAKER-PACIUS


  Plaintiffs hereby requests the Second Circuit to answer the following pure questions of law:

  1. Does the OSH Act under 29 U.S.C. §660 Section 11(c)(1) & (2) provide a private right of

     action to any employee who is wrongfully discharged by any public or private employer for

     exercising their First Amendment Free Exercise religious practice of refusing

     immunization/vaccines, medical treatment or medical testing, which religious practice is

     protected by the statutory provision of the OSH Act under 29 U.S.C. §669 Section 20(a)(5);

  2. Does Section 1983 provide a private right of action for monetary and injunctive relief

     against the enforcement of a New York City vaccine mandate municipal law that:

         a. violates the First Amendment Free Exercise Clause under both the strict scrutiny

             and rational basis tests; and

         b. violates the federal OSH Act Preemption Clause under 29 USC §667 Sec. 18(a) and

             the OSH Act anti-discrimination clause under 29 U.S.C. §660 Section 11(c)(1) and

             the anti-vaccine mandate clause under 29 U.S.C. §669 Section 20(a)(5);

  3. Should expert affidavits and plaintiffs affidavits attached to a complaint containing

     evidence to prove an essential element of a Plaintiffs claim and relied upon in a complaint

     through an incorporation by reference be considered a “written instrument” under FRCP

     Rule 10(a) and reviewed and considered as part of a complaint on a motion to dismiss; and
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   4. Does Judicial Canon 3B6 of the Code of Conduct for United States Judges require a district

      court judge to at least hold a hearing to investigate and interrogate through questioning of a

      lawyer on the record who has been charged by an opposing lawyer for committing fraud on

      the court under FRCP Rule 11 and Rule 60(b)(3) for making a legal contention that was

      legally indefensible and groundless in law for which s judge is provided evidence

      indicating the likelihood of unprofessional conduct by the offending lawyer; and

   5. Is it a breach of Judicial Canon 3A(2) for a federal district court judge to dismiss a case for

      failure to state a claim without ever providing the Plaintiff the right to be heard during the

      entire 2 and ½ year pendency of the case on all prior pending motions?


November 11, 2024                                    Respectfully submitted,
                                                     /s/ Jo Saint-George
                                                     _____________________________
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